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Exhibit D
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

Gervil St. Louis, a/k/a St. Louis Gervil,

Plaintiff,
Vv.

Douglas Perlitz; Father Paul E. Carrier, S.J.;
Hope E. Carter; Haiti Fund, Inc.; Fairfield
University; The Society Of Jesus Of New
England; Sovereign Military Hospitaller
Order of St. John of Jerusalem of Rhodes
and of Malta, American Association, U.S.A.,
a/k/a Order Of Malta, American
Association, USA; John Doe One; John Doe
Two; John Doe Three; John Doe Four; John

Civil Action No.: 3:13-cv-01132 (RNC)

Consolidated with:

3:13-cv-1225-RNC, 3:13-cv-1269-RNC
3:13-cv-1437-RNC, 3:13-cv-1480-RNC
3:13-cv-1626-RNC, 3:13-cv-1627-RNC
3:13-cv-1628-RNC, 3:13-cv-1629-RNC
3:13-cv-1630-RNC, 3:13-cv-1631-RNC
3:13-cv-1632-RNC, 3:13-cv-1633-RNC
3:13-cv-1634-RNC, 3:13-cv-1635-RNC
3:13-cv-1636-RNC, 3:13-cv-1637-RNC
3:13-cv-1638-RNC, 3:13-cv-1639-RNC
3:13-cv-1640-RNC, 3:13-cv-1641-RNC
3:13-cv-1642-RNC, 3:13-cv-1644-RNC
3:13-cv-1645-RNC, 3:13-cv-1647-RNC
3:13-cv-1648-RNC, 3:13-cv-1701-RNC

Doe Five; John Doe Six; and John Doe 3:13-cv-1767-RNC, 3:13-cv-1768-RNC

Seven, 3:13-cv-1769-RNC, 3:13-cv-1881-RNC
3:13-cv-1904-RNC, 3:13-cv-1906-RNC
Defendants. 3:13-cv-1907-RNC, 3:14-cv-0125-RNC

This document applies to:

All of the above referenced cases April 11, 2014

PLAINTIFES’ RESPONSES TO FIRST SET OF REQUESTS FOR THE PRODUCTION OF
DOCUMENTS AND THINGS PROPOUNDED BY CERTAIN DEFENDANTS TO ALL
PLAINTIFFS

Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff Gervil
St. Louis and all Plaintiffs in the cases consolidated herein hereby provide responses to
the Defendants’ First Set of Requests for the Production of Documents and Things
Propounded to all Plaintiffs (“First RFP”) served by Hope E. Carter, Fr. Paul E. Carrier,
Fairfield University, the Society of Jesus of New England, and the Sovereign Military

Hospitaller Order of St. John of Jerusalem of Rhodes and of Malta, American Association,
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control, if any.
RFP 74:

All documents concerning communications between you and any officer,
employee, attorney, investigator, student volunteer, or other person associated with
Fairfield University concerning Perlitz, Father Carrier, Project Pierre Toussaint, the Haiti
Fund, Inc., Fairfield University, the Society of Jesus, Hope Carter, or the American
Association.

Response to RFP No. 74:

Without waiver of, and subject to, the General Objections set forth above, each
Plaintiff will produce documents responsive to RFP No. 74 in his possession, custody or
control, if any.

REP 75:

All documents concerning interviews you or your lawyers have conducted of
persons whom you may call as witnesses at trial.
Response to RFP No. 75:

Plaintiffs object to this RFP on the grounds that it is overbroad and premature, as
Plaintiffs are not required to identify, and do not know, prior to completion of discovery,
witnesses they may call at trial. Plaintiffs further object to this interrogatory to the extent
it seeks attorney client communications or work product protected information. To the
extent any Plaintiffs may be called to testify at trial, the communications between
Plaintiffs and their attorneys would remain privileged communications. A Plaintiff's
testimony at trial does not waive the attorney client privilege. To the extent this request
seeks attorneys’ notes about attorney understandings, impressions or perceptions of
potential witnesses such request seeks protected attorney work product. To the extent
this request seeks attorneys’ notes about witnesses not called to testify, this request seeks

work product protected information. Without waiver of, and subject to, the foregoing

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objection and the General Objections set forth above, each Plaintiff will produce
documents responsive to RFP No. 75 in his possession, custody or control, if any, to the

extent that such witnesses have been identified at this time.

RFP 76:

All documents concerning the preservation of documents that are reasonably
likely to be the subject of discovery related to the claims and defenses at issue in the
consolidated actions.

Response to RFP No. 76:

Without waiver of, and subject to, the General Objections set forth above, each
Plaintiff will produce documents responsive to RFP No. 76 in his possession, custody or
control, if any.

RFP 77:

Any other documents which you submitted to or received from any third parties

concerning your claims in the related actions, consolidated for pre-trial purposes, which

have not been produced in response to these requests for production.

Response to RFP No. 77:

Plaintiffs object to this RFP on the grounds that it is vague and ambiguous.
Without waiver of, and subject to, the foregoing objection and the General Objections set
forth above, each Plaintiff will produce documents responsive to RFP No. 77 in his

possession, custody or control, if any.

RFP 78:
Any other documents concerning any claims or allegations in your Complaint
which have not been produced in response to these requests for production of

documents.
Response to RFP No. 78:

Plaintiffs object to this RFP on the grounds that it is vague and ambiguous.

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al., 3:11-cv-00614-RNC, including communications with claimant Michael Saintelus,
concerning compensation for the victims of Perlitz’s criminal actions, as ordered by the
US. District Court for the District of Connecticut as part of Perlitz’s criminal sentence or
otherwise.

Response to RFP No. 90:

Without waiver of, and subject to, the General Objections set forth above, each
Plaintiff will produce documents responsive to RFP No. 90 in his possession, custody or
control, if any.

RFP 91;

Copies of all communications between you and any of the plaintiffs in any of the
civil actions that were consolidated under the lead case of Joseph Jean-Charles v. Perlitz, et
al., 3:11-cv-00614-RNC, including communications with claimant Michael Saintelus,
concerning any compensation received by any of those plaintiffs and/or claimant as a
result of the settlement in Joseph Jean-Charles v. Perlitz, et al., 3:11-cv-00614-RNC.

Response to RFP No. 91:

Without waiver of, and subject to, the General Objections set forth above, each
Plaintiff will produce documents responsive to RFP No. 91 in his possession, custody or

control, if any.

Dated: April 11, 2014 . LAW Gi, ITCHELL GARABEDIAN
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By: “tf GAL

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Attorneys for Plaintiffs
CERTIFICATE OF SERVICE

This is to certify that on April 11, 2014, the above document was served by e-mail
on counsel of record. The undersigned further certifies that on the April 11, 2014, a copy
the above document was sent by United States Mail to the following:

1. Counsel for Defendant Douglas Perlitz listed below:
David T. Grudberg, Esq.
Carmody & Torrance LLP
195 Church Street
P.O. Box 1950
New Haven, CT 06509-1950
dgrudberg@carmodylaw.com

2. Defendant Haiti Fund, Inc. at the below address:
Haiti Fund, Inc.
c/o Mr. Michael McCooey

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Chairman
475 Polly Park Road
Rye, NY 10580

RESPECTFULLY SUBMITTED,

By Plaintiffs’ Attorney,

bil (oot

Mitchell Garabedian (phv04676)

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